Case 2:04-cr-20404-.]PI\/| Document 43 Filed 05/06/05 Page 1 of 2 Page|D 61

 

IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DIsTRIcT oF TENNESSEE USI‘*IF\Y -15 ;&{~€18153
wF.sTERN DIvIsIoN

 

 

UNITED STATES OF AMERICA
Plaintiff,

VS. CR. NO. O4-20404-Ml

JACK FLETCHER
Defendant.

~_,~._/`_,,~_.»-._¢-_/~__»\_,-_¢

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on May 6, 2005, the United States
Attorney for this district, Greg Gilluly, appearing for the Government
and the defendant, Jack Fletcher, appearing in person and with counsel,
Randall Salky, who represented the defendant.

With.leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for MONDAY, AUGUST l, 2005, at 8:45
a.m., before Judge Jon Phipps McCalla.

Defendant is remanded to the custody of the U. S. Marshal.

ENTERED this the lQ day @f May, 2005.

fwqu

JO PHIPPS MCCALLA
UN TED STATES DISTRICT COURT

 

isTRIC COURT - WESTENR D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:04-CR-20404 Was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

 

 

Randall P. Salky

LAW OFFICE OF RANDALL SALKY
266 S. Front St.

Memphis7 TN 38103

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

